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 8                               UNITED STATES DISTRICT COURT
 9                                       DISTRICT OF NEVADA
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11    MICHAEL F. SCHULZE,                               Case No. 2:20-cv-01347-KJD-BNW
12                       Petitioner,                    ORDER
13            v.
14    BRIAN KOEHN,
15                       Respondent.
16

17           Petitioner has filed an amended petition for a writ of habeas corpus pursuant to 28 U.S.C.

18   § 2241 (ECF No. 7). The court will serve the petition upon respondents for a response.

19           Petitioner also has filed a motion to expedite (ECF No. 8). This order makes the motion

20   moot.

21           IT IS THEREFORE ORDERED that the clerk shall serve copies of the petition and this

22   order upon respondent as follows:

23           1.     By sending a copy of the petition and this order by registered or certified mail to

24   the United States Attorney for the District of Nevada, 501 Las Vegas Blvd. S., Suite 1100, Las

25   Vegas, NV 89101;

26           2.     By sending a copy of the petition and this order by registered or certified mail to

27   the Honorable William Barr, Attorney General of the United States, Department of Justice, 950

28   Pennsylvania Ave. NW, Washington, DC 20530;
                                                       1
     Case 2:20-cv-01347-KJD-BNW Document 9 Filed 11/05/20 Page 2 of 2



 1          3.      By sending a copy of the petition and this order by registered or certified mail to
 2   Brian Koehn, Warden, Nevada Southern Detention Center, 2190 East Mesquite Ave., Pahrump,
 3   NV 89060.
 4          IT IS FURTHER ORDERED that pursuant to 28 U.S.C. § 2243 respondent shall file and
 5   serve an answer to the petition within twenty (20) days from the date that this order is entered,
 6   unless for good cause additional time is allowed.
 7          IT FURTHER IS ORDERED that petitioner's motion to expedite (ECF No. 8) is DENIED
 8   as moot.
 9          DATED:
                         November 5, 2020
10                                                                ______________________________
                                                                  KENT J. DAWSON
11                                                                United States District Judge
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